                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )   CASE NO. 3:12-00219
                                              )   JUDGE SHARP
COREY LEE SMITH                               )

                                         ORDER


       Defense Counsel’s Motion to Withdraw as Counsel and Motion for Appointment of New

Counsel (Docket No. 207) is hereby scheduled for a hearing on Friday, March 14, 2014, at 10:00

a.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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